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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01843-DDD-SKC

  MIKE BOULTER,
  BOULTER, LLC,
  RALPH NIX PRODUCE, INC., AND
  BARCLAY FARMS, LLC, ON BEHALF OF THEMSELVES AND CLASSES OF
  SIMILARLY SITUATED PERSONS,

         Plaintiffs,
  v.

  NOBLE ENERGY, INC., AND
  KERR-MCGEE OIL & GAS ONSHORE, LP,

         Defendants.


                                      FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         Pursuant to and in accordance with Fed. R. Civ. P. 58(a) and the Order Granting

  Motion to Dismiss, filed on April 6, 2023, by the Honorable Daniel D. Domenico, United

  States District Judge, and incorporated herein by reference as if fully set forth, it is

  hereby

         ORDERED that judgment is hereby entered in favor of Defendants, Noble

  Energy, Inc. and Kerr-McGee Oil & Gas Onshore, L.P., and against Plaintiffs, Mike

  Boulter, Boulter, LLC, Ralph Nix Produce, INC., and Barclay Farms, LLC, on behalf of

  themselves and classes of similarly situated persons, on Defendants’ Joint Motion to

  Dismiss. It is further
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        ORDERED that Plaintiffs= complaint and action are dismissed with prejudice.

        DATED at Denver, Colorado this 6th day of March, 2023.

                                               FOR THE COURT:

                                               JEFFREY P. COLWELL, CLERK



                                               s/ Robert R. Keech
                                               Robert R. Keech,
                                               Deputy Clerk




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